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EXHIBIT K
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                                 U.S. District Court
             Eastern District of California - Live System (Sacramento)
                CIVIL DOCKET FOR CASE #: 2:23-cv-01965-AC


Pack et al v. Johnson & Johnson Consumer Companies,      Date Filed: 09/12/2023
Inc. et al                                               Jury Demand: Plaintiff
Assigned to: Magistrate Judge Allison Claire             Nature of Suit: 370 Other Fraud
Cause: 28:1332 Diversity-Product Liability               Jurisdiction: Diversity
Plaintiff
Kenneth Levi Pack                     represented by Christopher Ross Rodriguez
                                                     Singleton Schreiber, LLP
                                                     1414 K Street
                                                     Suite 470
                                                     Sacramento, CA 95814
                                                     916-256-2312
                                                     Email:
                                                     crodriguez@singletonschreiber.com
                                                     ATTORNEY TO BE NOTICED

Plaintiff
Min Ji Jung                           represented by Christopher Ross Rodriguez
                                                     (See above for address)
                                                     ATTORNEY TO BE NOTICED


V.
Defendant
Johnson & Johnson Consumer
Companies, Inc.
a New Jersey corporation

Defendant
GlaxoSmithKline LLC
a Delaware corporation

Defendant
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Reckitt Benckiser LLC
a Delaware corporation

Defendant
Bayer HealthCare LLC
a Delaware limited liability
corporation

Defendant
Sanofi- Aventis U.S. LLC
a Delaware limited liability
corporation

Defendant
The Procter & Gamble Company
an Ohio corporation

Defendant
Church & Dwight Co., Inc.
a Delaware corporation

Defendant
Walmart Inc.
a Delaware corporation

Defendant
Target Corporation
Minnesota corporation

Defendant
CVS Pharmacy, Inc.
a Delaware corporation

Defendant
Walgreen Co.
an Illinois corporation

Defendant
Albertsons Companies Inc.
a Delaware corporation

Defendant
Rite Aid Corporation
a Delaware corporation
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Defendant
Amazon.com, Inc.
a Delaware corporation


Date Filed     # Docket Text
09/12/2023     1 COMPLAINT against Albertsons Companies Inc., Amazon.com, Inc.,
                 Bayer HealthCare LLC, CVS Pharmacy, Inc., Church & Dwight Co., Inc.,
                 DOES 1-20, GlaxoSmithKline LLC, Johnson & Johnson Consumer
                 Companies, Inc., Reckitt Benckiser LLC, Rite Aid Corporation, Sanofi-
                 Aventis U.S. LLC, Target Corporation, The Procter & Gamble Company,
                 Walgreen Co., Walmart Inc. by Min Ji Jung, Kenneth Levi Pack. Attorney
                 Rodriguez, Christopher Ross added. (Filing fee $ 402, receipt number
                 ACAEDC-11070774) (Rodriguez, Christopher) (Entered: 09/12/2023)
09/12/2023     2 CIVIL COVER SHEET filed by Min Ji Jung, Kenneth Levi Pack
                 (Rodriguez, Christopher) (Entered: 09/12/2023)
09/13/2023     3 SUMMONS ISSUED as to *Albertsons Companies Inc., Amazon.com,
                 Inc., Bayer HealthCare LLC, CVS Pharmacy, Inc., Church & Dwight Co.,
                 Inc., GlaxoSmithKline LLC, Johnson & Johnson Consumer Companies,
                 Inc., Reckitt Benckiser LLC, Rite Aid Corporation, Sanofi- Aventis U.S.
                 LLC, Target Corporation, The Procter & Gamble Company, Walgreen Co.,
                 Walmart Inc.* with answer to complaint due within *21* days. Attorney
                 *Christopher Ross Rodriguez* *Singleton Schreiber, LLP* *1414 K
                 Street, Suite 470* *Sacramento, CA 95814*. (Mena-Sanchez, L) (Entered:
                 09/13/2023)
09/13/2023     4 CIVIL NEW CASE DOCUMENTS ISSUED; (Attachments: # 1 Consent
                 Form, # 2 VDRP) (Mena-Sanchez, L) (Entered: 09/13/2023)



                                     PACER Service Center
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                                        09/18/2023 15:33:27
               PACER Login: jordansteele       Client Code:    decon
               Description:      Docket Report Search Criteria: 2:23-cv-01965-AC
               Billable Pages:   2             Cost:           0.20
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 6 Attorneys for Plaintiffs,

 7
                             UNITED STATES DISTRICT COURT
 8
                            EASTERN DISTRICT OF CALIFORNIA
 9
10
     KENNETH LEVI PACK, an                         CASE NO.
11   individual, on behalf of himself and          PLAINTIFFS’ CLASS-ACTION
12   all others similarly situated; MIN JI         COMPLAINT FOR
     JUNG, an individual, on behalf of
13
     herself and all others similarly                1. FRAUD
14   situated,                                       2. NEGLIGENT
                                                        MISREPRESENTATION
15
                      Plaintiffs,                    3. BREACH OF EXPRESS
16                                                      WARRANTY
                 v.
17                                                   4. STRICT LIABILITY-
                                                        DEFECTIVE DESIGN
18 Johnson & Johnson Consumer
     Companies, Inc., a New Jersey                   5. UNFAIR BUSINESS
19
     corporation; GlaxoSmithKline LLC, a                PRACTICES (BUSINESS &
                                                        PROFESSIONS CODE §
20   Delaware corporation; Reckitt                      17200)
     Benckiser LLC, a Delaware
21
     corporation; Bayer Healthcare LLC, a
22   Delaware limited liability corporation;
     Sanofi- Aventis U.S. LLC, a Delaware          DEMAND FOR JURY TRIAL
23
     limited liability corporation; The
24   Procter & Gamble Company, an Ohio
     corporation; Church & Dwight Co.,
25
     Inc., a Delaware corporation; Walmart
26   Inc., a Delaware corporation; Target
     Corporation, a Minnesota corporation;
27
     CVS Pharmacy, Inc., a Delaware
28   corporation; Walgreen Co., an Illinois
                                               1
                                    CLASS ACTION COMPLAINT
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 1 corporation; Albertsons Companies

 2 Inc., a Delaware corporation; Rite Aid
     Corporation, a Delaware corporation;
 3 Amazon.com, Inc., a Delaware

 4 corporation; and DOES 1-20.

 5                     Defendants.
 6

 7                                    COMPLAINT
 8         Plaintiffs KENNETH LEVI PACK and MIN JI JUNG (collectively,
 9 “Plaintiffs”), and by and through their undersigned counsel, hereby bring this action
10 on behalf of themselves and all others similarly situated, against Defendants, Johnson

11 & Johnson Consumer Companies, Inc.; GlaxoSmithKline LLC; Reckitt Benckiser

12 LLC; Bayer Healthcare LLC; Sanofi- Aventis U.S. LLC; The Procter & Gamble

13 Company; Church & Dwight Co., Inc.; Walmart Inc.; Target Corporation; CVS

14 Pharmacy, Inc.; Walgreen Co.; Albertsons Companies Inc.; Rite Aid Corporation;

15 Amazon.com, Inc; and DOES 1 through 20 (collectively, “Defendants”), and states:

16                                   INTRODUCTION
17         1.    This is an action for damages related to Defendants’ wrongful conduct
18 in connection with the marketing, distribution and sale of products containing

19 phenylephrine—a purported decongestant used as an active ingredient in at least 250

20 products, including without limitation Sudafed Sinus Congestion, Tylenol Cold & Flu

21 Severe, Nyquil Severe Cold & Flu, Theraflu Severe Cold Relief, Mucinex Sinus Max,

22 and many others, including generic brands developed by major retailers like CVS,

23 Walmart, Target and Walgreens (the “Phenylephrine Products”).

24         2.    Defendants manufacture, test, promote, advertise, market, distribute and
25 sell the Phenylephrine Products for the treatment of congestion and other associated

26 cold and flu symptoms.      Millions of Californians, and hundreds of millions of
27 Americans, spend hard-earned money to purchase these products for help relieving

28 congestion and other associated cold and flu symptoms because they are told by the

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                                  CLASS ACTION COMPLAINT
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 1 above-captioned Defendants that they work for that very purpose.

 2        3.     For years, Defendants have advertised and marketed the Phenylephrine
 3 Products to unsuspecting consumers despite knowing that phenylephrine is

 4 ineffective for the treatment of nasal congestion and the other cold and flu symptoms

 5 for which Defendants promote its use. On or about September 12, 2023, the Federal

 6 Drug Administration, after careful study and consideration, announced publicly that

 7 phenylephrine is ineffective as a treatment for such symptoms.

 8        4.     As a proximate result of Defendants’ deceptive, fraudulent, unlawful,
 9 and/or unfair conduct, Plaintiffs collectively suffered hundreds of millions of dollars
10 in damages in reliance upon Defendants’ knowingly false representations about the

11 effectiveness of phenylephrine and the Phenylephrine Products.

12        5.     Plaintiffs therefore demand judgment against Defendants and request,
13 among other things, compensatory damages, statutory damages, punitive damages,

14 attorneys’ fees, costs and all other available remedies and damages allowed by law.

15                                     PLAINTIFFS
16        6.     At all relevant times, Plaintiff KENNETH LEVI PACK was and has
17 been a resident and citizen of the State of California.

18        7.     On numerous occasions within the statutory time period, in reliance upon
19 Defendants’ intentionally false and fraudulent marketing, Plaintiff Pack purchased the

20 Phenylephrine Products, and each of them, within the State of California for the

21 treatment of cold and flu symptoms.

22        8.     At all relevant times, Plaintiff MIN JI JUNG was and has been a
23 resident and citizen of the State of New York.

24        9.     On numerous occasions within the statutory time period, in reliance upon
25 Defendants’ intentionally false and fraudulent marketing, Plaintiff Jung purchased the

26 Phenylephrine Products, and each of them, within the State of New York for the

27 treatment of congestion and other associated cold and flu symptoms.

28

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 1                                    DEFENDANTS
 2        10.    Defendant Johnson & Johnson Consumer Companies, Inc. is a New
 3 Jersey corporation, with headquarters and a principal place of business in the State of

 4 New Jersey. Upon information and belief, Defendant Johnson & Johnson Consumer

 5 Companies, Inc. is a wholly owned subsidiary of Johnson & Johnson, a New Jersey

 6 corporation, with headquarters and a principal place of business in the State of New

 7 Jersey (collectively “J&J”). At all times relevant to this complaint, Defendant J&J

 8 was engaged in the business of manufacturing, marketing, testing, promoting, selling,

 9 and/or distributing certain of the Phenylephrine Products, including but not limited
10 to, Tylenol, Sudafed, and Benadryl.

11        11.    Defendant GlaxoSmithKline LLC is a Delaware corporation with
12 headquarters and a principal place of business in the State of Pennsylvania. Upon

13 information and belief, GlaxoSmithKline LLC is a wholly-owned subsidiary of

14 GlaxoSmithKline PLC a public limited company organized under the laws of England

15 and Wales (collectively “GSK”). At all times relevant to this complaint, Defendant

16 GSK was engaged in the business of manufacturing, marketing, testing, promoting,

17 selling, and/or distributing certain of the Phenylephrine Products, including but not

18 limited to, Robitussin, Theraflu, Contac, and Advil.

19        12.    Defendant Reckitt Benckiser LLC is a Delaware limited liability
20 corporation, with headquarters and a principal place of business in the State of New

21 Jersey. Upon information and belief, Reckitt Benckiser LLC, is a wholly-owned

22 subsidiary of Reckitt Benckiser Group PLC, a public limited company organized

23 under the laws of England and Wales (collectively “Reckitt”). At all times relevant to

24 this complaint, Reckitt, was engaged in the business of manufacturing, marketing,

25 testing, promoting, selling, and/or distributing certain of the Phenylephrine Products,

26 including but not limited to, Mucinex.

27        13.    Defendant Bayer Healthcare LLC is a Delaware limited liability
28 corporation with headquarters and a principal place of business in the State of New

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                                   CLASS ACTION COMPLAINT
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 1 Jersey. Upon information and belief, Bayer Healthcare LLC is a wholly-owned

 2 subsidiary of Defendant is Bayer Corporation, an Indiana corporation with a principal

 3 place of business in the State of Pennsylvania (collectively “Bayer”). At all times

 4 relevant to this complaint, Defendant Bayer was engaged in the business of

 5 manufacturing, marketing, testing, promoting, selling, and/or distributing certain of

 6 the Phenylephrine Products, including but not limited to, Alka-Seltzer.

 7        14.   Defendant Sanofi- Aventis U.S. LLC is a Delaware limited liability
 8 corporation with headquarters and a principal place of business in the State of New

 9 Jersey. Upon information and belief, Sanofi- Aventis U.S. LLC is a wholly owned
10 subsidiary of Sanofi S.A, a company organized under the laws of France (collectively

11 “Sanofi”). At all times relevant to this complaint, Defendant Sanofi was engaged in

12 the business of manufacturing, marketing, testing, promoting, selling, and/or

13 distributing certain of the Phenylephrine Products, including but not limited to,

14 Allegra.

15        15.   Defendant The Procter & Gamble Company (“Proctor”) is an Ohio
16 corporation with headquarters and principal place of business in the State of Ohio. At

17 all times relevant to this complaint, Defendant Proctor was engaged in the business

18 of manufacturing, marketing, testing, promoting, selling, and/or distributing certain

19 of the Phenylephrine Products, including but not limited to, Dayquil and NyQuil.

20        16.   Defendant Church & Dwight Co., Inc. (“Church & Dwight”) is a
21 Delaware corporation with headquarters and principal place of business in the State

22 of New Jersey. At all times relevant to this complaint, Church & Dwight was engaged

23 in the business of manufacturing, marketing, testing, promoting, selling, and/or

24 distributing certain of the Phenylephrine Products, including but not limited to,

25 Zicam.

26        17.   Defendant Walmart Inc. (“Walmart”) is a Delaware corporation with
27 headquarters and principal place of business in the State of Arkansas. At all times

28 relevant to this complaint, Walmart was engaged in the business of manufacturing,

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 1 marketing,    testing, promoting, selling, and/or distributing certain of the
 2 Phenylephrine Products.

 3        18.    Defendant Target Corporation (“Target”) is a Minnesota corporation
 4 with headquarters and principal place of business in the State of Minnesota. At all

 5 times relevant to this complaint, Target was engaged in the business of manufacturing,

 6 marketing,    testing, promoting, selling, and/or distributing certain of the
 7 Phenylephrine Products.

 8        19.    Defendant CVS Pharmacy, Inc. (“CVS”) is a Delaware corporation
 9 with headquarters and principal place of business in the State of Rhode Island. At all
10 times relevant to this complaint, CVS was engaged in the business of manufacturing,

11 marketing,    testing, promoting, selling, and/or distributing certain of the
12 Phenylephrine Products.

13        20.    Defendant Walgreen Co. (“Walgreens”) is an Illinois corporation with
14 headquarters and principal place of business in the State of Illinois. At all times

15 relevant to this complaint, Walgreens was engaged in the business of manufacturing,

16 marketing,    testing, promoting, selling, and/or distributing certain of the
17 Phenylephrine Products.

18        21.    Defendant Albertsons Companies Inc. (“Albertsons”) is a Delaware
19 corporation with its principal place of business in the State of Idaho. At all times

20 relevant to this complaint, Albertsons was engaged in the business of manufacturing,

21 marketing,    testing, promoting, selling, and/or distributing certain of the
22 Phenylephrine Products.

23        22.    Defendant Rite Aid Corporation (“Rite Aid”) is a Delaware corporation
24 with its principal place of business in the State of Philadelphia. At all times relevant

25 to this complaint, Rite Aid was engaged in the business of manufacturing, marketing,

26 testing, promoting, selling, and/or distributing certain of the Phenylephrine Products.

27        23.    Defendant Amazon.com, Inc. (“Amazon”) is a Delaware corporation
28 with its principal place of business in the State of Washington. At all times relevant

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 1 to this complaint, Amazon was engaged in the business of manufacturing, marketing,

 2 testing, promoting, selling, and/or distributing certain of the Phenylephrine Products.

 3        24.     The true names and capacities of defendants Does 1 through 200 are
 4 currently unknown to Plaintiffs who, therefore, sue these defendants under these

 5 fictitious names. These defendants are each directly and/or vicariously responsible, in

 6 some manner, for the harms alleged herein. If/when Plaintiffs learn these defendants’

 7 true names and capacities, Plaintiffs will seek leave to amend this pleading

 8 accordingly.

 9        25.     The true names and/or capacities, whether individual, corporate,
10 partnership, associate, governmental, or otherwise, of Defendants DOES 1 through

11 20, inclusive, and each of them, are unknown to Plaintiffs at this time, who therefore

12 sues said Defendants by such fictitious names. Plaintiffs are informed and believe,

13 and thereon allege, that each Defendant designated herein as a DOE caused injuries

14 and damages proximately thereby to Plaintiffs as hereinafter allege; and that each

15 DOE defendant is liable to Plaintiffs for the acts and omissions alleged herein below,

16 and the resulting injuries to Plaintiffs, and damages sustained by Plaintiffs. Plaintiffs

17 will amend this Complaint to allege the true names and capacities of said DOE

18 Defendants when that same is ascertained.

19                              JURISDICTION & VENUE
20        26.     This Court has original jurisdiction pursuant to 28 U.S.C. § 1332(d)(2).
21 The matter in controversy, exclusive of interest and costs, exceeds the sum or value

22 of $5,000,000 and is a class action in which there are in excess of 100 class members

23 and many members of the class are citizens of a state different from Defendants.

24        27.     This Court has personal jurisdiction over Defendants are authorized to
25 conduct and do conduct business in California. Defendants have engaged in the

26 business of designing, developing, manufacturing, testing, packaging, promoting,

27 marketing, distributing, labeling, and/or selling the Phenylephrine Products to

28 Plaintiffs in California, and Defendants have sufficient minimum contacts with this

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 1 State and/or sufficiently avail themselves of the markets in this State through their

 2 promotion, sales, distribution and marketing within the State to render exercise of

 3 jurisdiction by this Court permissible.

 4        28.    Venue is proper in this Court pursuant to 28 U.S.C. §§ 1391(a) and (b)
 5 because a substantial part of the events or omissions giving rise to Plaintiffs’ claims

 6 occurred while he resided in this judicial district. Venue is also proper under 18

 7 U.S.C. § 1965(a) because the Defendants transact substantial business in this District.

 8                           CLASS ACTION ALLEGATIONS
 9        29.    Pursuant to Rules 23(a), (b)(3), (b)(2), and (c)(4) of the Federal Rules of
10 Civil Procedure, Plaintiffs bring this class action on their own behalf and on behalf of

11 all other similarly situated consumers in the United States as members of the

12 following proposed Nationwide and California State classes. The proposed Classes

13 are defined as follows:

14               a.    Nationwide class: During the fullest period allowed by law, all
15                     persons within the United States who purchased the
16                     Phenylephrine Products, or any of them, at any time and at any
17                     location (the “Class”).
18               b.    California subclass: During the fullest period allowed by law,
19                     all persons who, while a resident of California, purchased the
20                     Phenylephrine Products at any location in California, including
21                     without limitation any online purchase made from California
22                     (regardless of the shipping address of the consumer) (the
23                     “California Subclass” or the “Subclass”).
24               c.    Nationwide class and California subclass members are
25                     collectively referred herein as “Class Members.”
26               d.    Like Plaintiffs, all Class Members purchased the Phenylephrine
27                     Products based on the misrepresentations that said products were
28                     effective in the treatment of congestion and other associated cold
                                                 8
                                   CLASS ACTION COMPLAINT
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 1                      and flu symptoms, and that such understanding was reasonable
 2                      and was a material basis for the decision to purchase the
 3                      Phenylephrine Products, which Defendants intended to foster
 4                      through its various marketing activities in connection with the
 5                      sale of the Phenylephrine Products.
 6         30.   Excluded from the Class and Subclass are assigned judges and members
 7 of their families within the first degree of consanguinity, Defendants, and their

 8 subsidiaries, affiliates, officers, and directors.

 9         31.   The requirements of Federal Rule of Civil Procedure 23 are satisfied for
10 the Class and California Subclass.

11         32.   The proposed Class and California Subclass are so numerous that
12 individual joinder of all their members is impracticable because members of the Class

13 number in the tens or hundreds of thousands. The precise number of Class members

14 and their identities are unknown to Plaintiffs at this time but are objectively

15 ascertainable and will be determined through appropriate discovery.

16         33.   Defendants possess objective evidence as to the identity of each Class
17 Member and, to a reasonable degree of certainty, the damages suffered by each Class

18 Member, including without limitation sales receipts, phone numbers, names, rewards

19 accounts data, credit card data, customer service complaint forms/emails/date, and

20 other evidence which objectively identifies class members.

21         34.   Class Members may be notified of the pendency of this action by mail,
22 publication and/or through the records of Defendants and third-party retailers and

23 vendors.

24         35.   There are common questions of law and fact affecting Plaintiffs and
25 Class Members. Common legal and factual questions include, but are not limited to:

26               a.     Whether Defendants market and advertises the Phenylephrine
27                      Products in a way that is false or misleading.
28               b.     Whether by the misconduct set forth in this complaint,
                                                 9
                                     CLASS ACTION COMPLAINT
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 1                     Defendants have engaged and continue to engage in unfair,
 2                     fraudulent, or unlawful business practices;
 3               c.    Whether Defendants’ conduct was committed knowingly and/or
 4                     intentionally;
 5               d.    Whether Defendants’ conduct constitutes violations of the
 6                     federal and/or state laws asserted herein;
 7               e.    Whether Defendants had a duty to correct their fraudulent
 8                     statements;
 9               f.    Whether Class members were harmed by Defendants’ false
10                     statements;
11               g.    Whether Defendants were unjustly enriched by their conduct;
12               h.    Whether the Class is entitled to punitive damages;
13               i.    Whether the Class is entitled to recover statutory attorney’s fees;
14               j.    Whether, as a result of Defendants’ misconduct as alleged herein,
15                     Plaintiffs and Class Members are entitled to restitution,
16                     injunctive and/or monetary relief and, if so, the amount and
17                     nature of such relief.
18        36.    Plaintiffs’ claims are typical of the claims of the proposed Class and
19 Subclass because Plaintiffs and Class Members were harmed in the same manner by

20 the same conduct.

21        37.    Plaintiffs and Class Members have all sustained economic injury arising
22 out of Defendants violations of common and statutory law alleged herein.

23        38.    Plaintiffs will fairly and adequately represent and protect the interests of
24 the Class and Subclass.

25        39.    Plaintiffs’ interests do not conflict with the interests of the Class and
26 Subclass he seeks to represent. Plaintiffs have retained counsel competent and

27 experienced in prosecuting class actions, and Plaintiffs intend to prosecute this action

28 vigorously.

                                                10
                                     CLASS ACTION COMPLAINT
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 1        40.       The class mechanism is superior to other available means for the fair and
 2 efficient adjudication of the claims of Plaintiffs and Class Members.

 3        41.       Given the relatively small amount of damages at stake for any of the
 4 individual Class Members, individual litigation is not practicable.

 5        42.       Individual Class Members will not wish to undertake the burden and
 6 expense of individual cases.

 7        43.       In addition, individualized litigation increases the delay and expense to
 8 all parties and multiplied the burden on the judicial system. Individualized ligation

 9 also presents the potential for inconsistent or contradictory judgments.
10        44.       In contrast, the class action device presents far fewer management
11 difficulties and provides the benefits of single adjudication, economy of scale, and

12 comprehensive supervision by a single court.

13        45.       Questions of law and fact common to all Class Members predominate
14 over any questions affecting only individual Class Members. Injuries sustained by

15 Plaintiffs and Class Members flow, in each instance, from a common nucleus of

16 operative facts as set forth above.

17        46.       In each case, Defendant used deceptive marketing and sales techniques
18 aimed at the Class Members, causing harm to all Class Members as a result of such

19 intentional conduct. The resolution of these central issues will be the focus of the

20 litigation and predominate over any individual issues.

21        47.       Proposed class counsel possesses the knowledge, experience, reputation,
22 ability, skill, and resources to represent the class and should be appointed lead counsel

23 for the class.

24                   TOLLING OF THE STATUTE OF LIMITATIONS
25         A.        Discovery Rule Tolling
26        48.       As a result of the acts and omissions of Defendants, Plaintiffs could not
27 have discovered, through the exercise of reasonable due diligence, that the active

28 ingredient in the Phenylephrine Products was ineffective, as has now been declared

                                                11
                                      CLASS ACTION COMPLAINT
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 1 by the Federal Drug Administration. Thus, the applicable limitations periods did not

 2 begin to accrue until Plaintiffs discovered, or through the exercise of reasonable

 3 diligence should have discovered, Defendants’ wrongful acts and omissions.

 4         B.     Fraudulent Concealment Tolling
 5        49.    All applicable statutes of limitation have also been tolled by Defendants’
 6 knowing and active fraudulent concealment and misrepresentations about the

 7 effectiveness of phenylephrine and the Phenylephrine Products throughout the time

 8 period relevant to this action.

 9        50.    Defendants are under a continuing duty to disclose the true character,
10 quality, efficacy, safety issues and safety concerns of phenylephrine and the

11 Phenylephrine Products to its users, including Plaintiffs specifically. To date,

12 Defendants have nevertheless failed to adequately and fully inform consumers about

13 these matters, as discussed above.

14        51.    Plaintiffs reasonably relied upon Defendants’ knowing, affirmative
15 misrepresentations and/or active concealment when Plaintiffs—and millions of

16 similarly-situated Californians and Americans—purchased the Phenylephrine

17 Products based on the representations and advertisements touting the effectiveness of

18 such products in the treatment of congestion and other associated cold and flu

19 symptoms.

20        52.    Because Defendants actively concealed the true facts about the
21 ineffectiveness of phenylephrine and the Phenylephrine Products, they are estopped

22 from relying on any statutes of limitations defense.

23                             FIRST CAUSE OF ACTION
24                            Fraudulent Misrepresentation
25        53.    Plaintiffs reallege and incorporate the allegations made above as if fully
26 set forth below.

27        54.    Plaintiffs bring this claim individually and on behalf of the Class.
28        55.    At all relevant times, Defendants had the duty and obligation to truthfully
                                               12
                                     CLASS ACTION COMPLAINT
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 1 represent to Plaintiffs the facts concerning the ineffectiveness of phenylephrine and

 2 the Phenylephrine Products.         Instead, Defendants aggressively (and falsely)
 3 advertised the effectiveness of phenylephrine and the Phenylephrine Products, despite

 4 the fact that each such Defendant knew that phenylephrine and the Phenylephrine

 5 Products were entirely ineffective against congestion and the associated cold & flu

 6 symptoms the Phenylephrine Products were advertised to treat.

 7        56.    Defendants willfully deceived Plaintiffs and the public in general by
 8 making these intentional misrepresentations regarding the efficacy of phenylephrine

 9 and the Phenylephrine Products.
10        57.    At the time the aforesaid misrepresentations were made, Defendants
11 intended to induce Plaintiffs to rely upon such misrepresentations.

12        58.    At the time Defendants made the above-described misrepresentations,
13 Plaintiffs and the public in general reasonably believed them to be true. In reasonable

14 and justified reliance upon said misrepresentations, Plaintiffs purchased the

15 Phenylephrine Products.

16        59.    As a direct and proximate result of Defendants’ conduct, Plaintiffs
17 suffered serious financial harm, including the expenditure of substantial sums to

18 purchase the Phenylephrine Products, which Defendants knew were and are

19 ineffective for their advertised purpose.

20                           SECOND CAUSE OF ACTION
21                              Negligent Misrepresentation
22        60.    Plaintiffs reallege and incorporate the allegations made above as if fully
23 set forth below.

24        61.    Plaintiffs bring this claim individually and on behalf of the Class.
25        62.    At all relevant times, Defendants had the duty and obligation to truthfully
26 represent to Plaintiffs the facts concerning the ineffectiveness of phenylephrine and

27 the Phenylephrine Products.         Instead, Defendants aggressively (and falsely)
28 advertised the effectiveness of phenylephrine and the Phenylephrine Products, despite

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 1 the fact that each such Defendant should have known that phenylephrine and the

 2 Phenylephrine Products were entirely ineffective against congestion and the

 3 associated cold & flu symptoms the Phenylephrine Products were advertised to treat.

 4         63.   Defendants recklessly or at least negligently deceived Plaintiffs and the
 5 public in general by making these misrepresentations regarding the efficacy of

 6 phenylephrine and the Phenylephrine Products.

 7         64.   At the time the aforesaid misrepresentations were made, Defendants
 8 understood that their careless misrepresentations would induce Plaintiffs to rely upon

 9 them.
10         65.   At the time Defendants made the above-described misrepresentations,
11 Plaintiffs and the public in general reasonably believed them to be true. In reasonable

12 and justified reliance upon said misrepresentations, Plaintiffs purchased the

13 Phenylephrine Products.

14         66.   As a direct and proximate result of Defendants’ conduct, Plaintiffs
15 suffered serious financial harm, including the expenditure of substantial sums to

16 purchase the Phenylephrine Products, which Defendants knew or should have known

17 were and are ineffective for their advertised purpose.

18                             THIRD CAUSE OF ACTION
19                             Breach of Express Warranty
20         67.   Plaintiffs reallege and incorporate the allegations made above as if fully
21 set forth below.

22         68.   Plaintiffs bring this claim individually and on behalf of the Class.
23         69.   Section 2-313 of the Uniform Commercial Code provides that an
24 affirmation of fact or promise, including a description of the goods, becomes part of

25 the basis of the bargain and creates an express warranty that the goods shall conform

26 to the promise and to the description.

27         70.   At all times, California and other states have codified and adopted the
28 provisions of the Uniform Commercial Code governing the express warranty of

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 1 merchantability.

 2        71.   Plaintiffs, and each member of the Class, formed a contract with
 3 Defendants at the time Plaintiffs and the other members of the Class purchased the

 4 Phenylephrine Products. The terms of that contract include the cognitive health

 5 benefit promises and affirmations of fact made by Defendants on the Phenylephrine

 6 Products’ labels and packages as described above. These representations constitute

 7 express warranties, became part of the basis of the bargain, and are part of a

 8 standardized contract between Plaintiffs and the members of the Class on the one

 9 hand, and Defendants on the other.
10        72.   All conditions precedent to Defendants’ liability under this contract have
11 been performed by Plaintiffs and the Class Members.

12        73.   At all relevant times, Defendants had the duty and obligation to truthfully
13 represent to Plaintiffs the facts concerning the ineffectiveness of phenylephrine and

14 the Phenylephrine Products.        Instead, Defendants aggressively (and falsely)
15 advertised the effectiveness of phenylephrine and the Phenylephrine Products, despite

16 the fact that each such Defendant knew that phenylephrine and the Phenylephrine

17 Products were entirely ineffective against congestion and the associated cold & flu

18 symptoms the Phenylephrine Products were advertised to treat.

19        74.   Defendants breached the terms of this contract, including the express
20 warranties, with Plaintiffs and the Class by not providing the Phenylephrine Products

21 that could provide the cognitive health benefits as represented and described above.

22        75.   As a result of Defendants’ breach of their warranty, Plaintiffs and the
23 Class have been damaged in the amount of the purchase price of the Phenylephrine

24 Products they purchased.

25                            FOURTH CAUSE OF ACTION
26                    Strict Liability-Design and Manufacturing Defect
27        76.   Plaintiffs reallege and incorporate the allegations made above as if fully
28 set forth below.

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 1         77.   Plaintiffs bring this claim individually and on behalf of the Class.
 2         78.   At the time that the Phenylephrine Products left the control of the
 3 Defendants, the Phenylephrine Products were defective as a result of Defendants’

 4 design, manufacture, alteration, or modification. The defects included, but are not

 5 limited to, materials that are unsafe for human skin contact, and/or materials not

 6 identified on the Product itself.

 7         79.   At all relevant times, Defendant knew and intended that the
 8 Phenylephrine Products would be purchased and used by members of the general

 9 public who would rely on Defendants to properly identify the relevant characteristics
10 and usefulness of the Product.

11         80.   At the time of the incidents giving rise to this Complaint, the
12 Phenylephrine Products were being used in a manner that was foreseeable by the

13 Defendants and in a manner which the Phenylephrine Products were intended to be

14 used.

15         81.   Defendants knew or should have known their manufacture or design of
16 the Phenylephrine Products was defective, causing the Phenylephrine Products to fail

17 to perform as an ordinary consumer would expect when used in an intended or

18 reasonably foreseeable manner.

19         82.   In addition, the risks inherent in the design of the Phenylephrine Products
20 outweighs any benefits of that design.

21         83.   As a direct and proximate result of Defendants’ conduct, Plaintiffs have
22 suffered and continue to suffer serious harm.

23                             FIFTH CAUSE OF ACTION
24         Unfair Business Practices (Cal. Bus. & Prof. Code §§ 17200, et seq.)
25                    (Plaintiffs and California Sub-Class Members)
26         84.   Plaintiffs reallege and incorporate the allegations made above as if fully
27 set forth below. Plaintiffs assert this First Cause of Action on behalf of themselves

28 and all other similarly-situated persons in California that paid hard-earned money for

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 1 the Phenylephrine Products based on the deceptive, false, unfair and unlawful

 2 marketing strategy touting the effectiveness of phenylephrine and the Phenylephrine

 3 Products for treatment of congestion and associated cold and flu symptoms.

 4           85.   By engaging in the above-described conduct, Defendants, and each of
 5 them, acted in a manner that is unlawful, unfair, and fraudulent, and have thus

 6 engaged in unfair business practices to the extreme detriment of Plaintiffs, which

 7 conduct is prohibited under California Business & Professions Code sections 17200,

 8 et seq.

 9           86.   Defendants’ conduct has caused Plaintiffs to suffer harm, including
10 through the payment of monies for the purchase of the Phenylephrine Products.

11           87.   Plaintiffs are thus entitled to restitutionary and injunctive relief,
12 including without limitation disgorgement of any unlawful gains that Defendants have

13 obtained as a result of their unlawful, unfair and fraudulent conduct.

14                  Additional Allegations Regarding Punitive Damages
15                            (All Applicable Causes of Action)
16           88.   The acts and omissions of Defendants described herein consisted of
17 oppression, fraud and/or malice and were done with advance knowledge, conscious

18 disregard of the rights of others and/or ratification by Defendants’ officers, directors

19 and/or managing agents.

20           89.   Defendants’ actions amounted to actual malice or reckless indifference
21 to the likelihood of harm associated with their acts and omissions.\

22           90.   Plaintiffs are entitled to punitive damages because Defendants misled,
23 misrepresented and/or withheld information and materials from consumers and the

24 public at large, including Plaintiffs, concerning the efficacy of phenylephrine and the

25 Phenylephrine Products.

26           91.   Despite the fact that Defendants were or should have been in possession
27 of    evidence demonstrating the ineffectiveness of phenylephrine and the
28 Phenylephrine Products, Defendants continued to market Phenylephrine Products by

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 1 providing false and misleading information with regard to the efficacy of such

 2 products.

 3        92.    Defendants failed to provide consumers, including Plaintiffs, with
 4 available materials, information and warnings that would have ultimately dissuaded

 5 them from purchasing and consuming such products, thus depriving otherwise

 6 uninformed consumers from weighing the true risks and benefits of purchasing and

 7 ingesting the Phenylephrine Products.

 8        93.    Defendants’ conduct was committed with knowing, conscious and
 9 deliberate disregard for the rights and safety of consumers, including Plaintiffs,
10 thereby entitling Plaintiffs to punitive damages in an amount appropriate to punish

11 the Defendants and deter them from similar conduct in the future.

12        94.    Consequently, Defendants are liable for punitive damages in an amount
13 to be determined by the jury at trial.

14                                PRAYER FOR RELIEF
15        WHEREFORE, Plaintiffs pray for judgment as follows:
16        a.     Certifying the Class and the California Subclass as requested
17               herein;
18        b.     Awarding Plaintiffs and the proposed Class Members damages;
19        c.     Awarding restitution and disgorgement of Defendants’ revenues
20               to Plaintiffs and the proposed Class Members
21        d.     Awarding declaratory and injunctive relief as permitted by law or
22               equity, including: enjoining Defendants from continuing the
23               unlawful practices as set forth herein, and directing Defendants to
24               identify, with Court supervision, victims of its conduct and pay
25               them all money it is required to pay;
26        e.     Ordering Defendants to engage in a corrective advertising
27               campaign
28        f.     Awarding punitive damages;
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 1      g.   Awarding restitutionary disgorgement in favor of Plaintiffs and all
 2           other similarly situated persons in California;
 3      h.   Awarding the costs and expenses of this litigation to Plaintiffs;
 4      i.   Awarding reasonable attorneys’ fees and costs to Plaintiffs as
 5           provided by law;
 6      j.   Awarding pre-judgment and post-judgment interest to Plaintiffs;
 7           and
 8      k.   For such further relief as this Court deems necessary, just and
 9           proper.
10

11 DATED: September 12, 2023         SINGLETON SCHREIBER, LLP
12

13

14                                   By:
                                           CHRISTOPHER R. RODRIGUEZ
15                                         Attorneys for Plaintiffs KENNETH LEVI
16                                         PACK and MIN JI JUNG
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